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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )
                                           )           8:13CR244
                    Plaintiff,             )
                                           )
      vs.                                  )             ORDER
                                           )
LUIS VALLEJO,                              )
                                           )
                    Defendant.             )

       Defendant’s Motion to Suppress (Filing No. 52) is scheduled for hearing before the
undersigned magistrate judge at 1:30 p.m. on August 8, 2013, in Courtroom No. 7,
Second Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha,
Nebraska.
       Counsel are reminded of the requirements of NECrimR 12.5 which provides as
follows:

      Disclosure of Evidence. This rule applies to all evidentiary hearings on
      pretrial motions in criminal cases.

             (a)    Witnesses. At the time of the hearing, and to the extent
             reasonably possible, the parties shall submit to the judge and
             courtroom deputy a written list of all witnesses whom the
             parties expect to call.
             (b)    Exhibits. At least twenty-four (24) hours before the
             hearing, each party shall mark the exhibits that party intends to
             introduce into evidence at the hearing, and provide a copy to
             counsel for all other parties and to the presiding judge.
             Exhibits should be marked as follows: government’s exhibits
             beginning at Number 1 and defense exhibits beginning at
             Number 101.

      This being a criminal case, defendant must be present unless otherwise ordered by
the court.

      DATED this 17th day of July, 2013.
                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
